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10
                                UNITED STATES DISTRICT COURT
11
                               CENTRAL DISTRICT OF CALIFORNIA
12
13      JOHN DOE et al.,                          NO. 5:22-CV-855-JGB-SPx
14                     Plaintiffs,                ORDER RE: STIPULATION TO
15             v.                                 CONTINUE AUGUST 29, 2022
                                                  HEARING
16
        U.S. DEPARTMENT OF JUSTICE
17      et al.,                                   Honorable Jesus G. Bernal
18                                                United States District Judge
                       Defendants.
19
20
             Pursuant to the Stipulation filed by the parties and for good cause shown,
21
22           IT IS HEREBY ORDERED that the hearing on Plaintiffs’ Motion for
23    Preliminary Injunction is CONTINUED from August 29, 2022 to September 12,
24    2022 at 9:00 a.m.
25    DATED: August 16, 2022
26                                           _______________________________
                                             Hon. Jesus G. Bernal
27
                                             United States District Court
28



      Order
      Case No. 5:22-CV-855-JGB-SPx
